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AO 440(Rev,06/12} Summons in a Civil Aclion


                                    United States District Court
                                                           fcM"lhe




                           Plaintifffs)
                               V.                                    Civil Action No.

        |4<d(c>AWf^^                               Inc.

                         Defendanl(s)


                                                SUMMONS IN A CIVIL ACTION

To;(Defendant's name and address)
                                          |\i i OO W ^ d C C'            i\
                                          f^e <11'-si Ct             ^   t
                                          C_or                                      C.^
                                          So S' S'+K
                                              Ucs TAciaCi, I a
         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency,or an officer or employee of the United States described in Fed. R.Civ.
P, 12(a)(2)or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                         CLERK OF COURT



Date;
                                                                                  Signature ofClerFbr Dyriily Clerk
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Civil Action No.


                                                         PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(I))

          This summons for(name ofindividual and title, ifany)
 was received by me on (date)

          □ Ipersonally served the summons on the individual at (place)
                                                                              on (date)                             ; or


          □ 1 left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there.
          on (date)                              , and mailed a copy to the individual's last known address; or

          □ Iserved the summons on (name of individual)                                                                      '
           designated by law to accept service of process on behalf of (name oforganization)
                                                                              on (date)                             ; or


          □ 1 returned the summons unexecuted because                                                                             '

          G Other (specify):




           My fees are $                         for travel and $                  for services, for a total of $          0.00

          1 declare under penalty of peijury that this information is true.


 Date;
                                                                                          Server's signature



                                                                                      Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
